          Case 1:17-cv-00365-LY Document 94 Filed 05/25/18 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                   )
                                                )
               Plaintiffs,                      )
                                                )
vs.                                             )
                                                )
GRANDE COMMUNICATIONS                                 No. 1:17-cv-00365
                                                )
NETWORKS LLC and PATRIOT MEDIA                  )
CONSULTING, LLC,                                )
                                                )
               Defendants.
                                                )
                                                )

          DEFENDANT GRANDE COMMUNICATION NETWORKS LLC’S
         MOTION TO AUTHORIZE SERVICE OF THIRD-PARTY SUBPOENA
                           BY U.S. MARSHAL

       Defendant Grande Communication Networks LLC (“Grande”) respectfully moves this

Court for an order authorizing the United States Marshal for the Central District of California to

serve a subpoena on third-party witness IP-Echelon Pty, Ltd (“IP-Echelon”). As discussed in

more detail herein, Grande has been unsuccessful in its attempts to serve IP-Echelon with a

subpoena using a private process server and through attempts to communicate informally with

IP-Echelon. Accordingly, Grande respectfully requests this Court to approve the use of the

United States Marshal to serve this subpoena upon IP-Echelon.

                                        BACKGROUND

       According to its website (www.ip-echelon.com), IP-Echelon is a privately held company

with offices in Hollywood, California and Melbourne, Australia that provides “data analytics and

audience measurements on unauthorized distribution channels” regarding its clients’ content.

See Exhibit 1 to Declaration of Nicholas Clifford (attached as Exhibit A). It monitors peer-to-

peer networks for its clients’ content and gathers information about infringing activity. Id. IP-



                                                 1
          Case 1:17-cv-00365-LY Document 94 Filed 05/25/18 Page 2 of 5



Echelon sends out infringement notices and takedown requests for some of the largest

entertainment companies in the world. See Exhibit 2 to Clifford Decl.

       IP-Echelon was involved in an infringement notice phishing scam, described more fully

in the attached article. See Exhibit 3 to Clifford Decl. The perpetrators sent fake IP-Echelon

copyright infringement notices regarding certain copyrighted material to an internet service

provider (Cox Communications), which then passed them on to its customers. Id. The notices

threatened the customers with legal action and monetary damages and offered settlements

through a link in the notice. Id. The article quoted IP-Echelon as saying, “The notices are fake

and not sent by us. It’s a phishing scam.” Id. IP-Echelon explained that its infringement notices

are digitally signed using the PGP protocol “for ISPs to check authenticity.” Id. Grande has also

received IP-Echelon infringement notices, which include both authenticated, PGP-signed

infringement notices from IP-Echelon, as well as fake, non-PGP-signed notices which falsely

claim to be from IP-Echelon. Clifford Decl. at ¶¶ 9-10.

       In light of this phishing scam involving IP-Echelon and Grande, as well as the similarity

of IP-Echelon’s role in investigating and sending infringement notices regarding alleged

BitTorrent-based infringements to the role played by Rightscorp for Plaintiffs in this case,

Grande decided to subpoena IP-Echelon to produce certain documents and appear for a

deposition. See Exhibit 4 to Clifford Decl.

       Grande’s process server has attempted service of the subpoena at IP-Echelon’s

Hollywood, CA business address but was repeatedly refused. Clifford Decl. at ¶ 6. The building

receptionist did not identify himself, would not acknowledge that IP-Echelon was a tenant, and

refused to contact IP-Echelon or provide any information about it. Id. Notwithstanding the Los

Angeles address identified on IP-Echelon’s website, it is not registered to do business with the




                                                 2
           Case 1:17-cv-00365-LY Document 94 Filed 05/25/18 Page 3 of 5



State of California and does not have a registered agent listed in the California Secretary of State

Business Search database. Clifford Decl. at ¶ 7. Finally, Grande’s counsel telephoned and

emailed IP-Echelon but never received a response. Clifford Decl. at ¶ 8.

                                          ARGUMENT

       Because IP-Echelon has refused to accept service of a subpoena on it through ordinary

service of process or other informal means, Grande respectfully requests the Court to order the

U.S. Marshal for the Central District of California to effect service of the subpoena on IP-

Echelon. The U.S. Marshal’s Service is authorized to serve subpoenas under 28 U.S.C. § 566(a)

and (c) and to collect fees therefore under 28 U.S.C. § 1921(a)(1)(B). Under Rule 4, the Court

has the discretion to appoint a U.S. Marshal to serve process upon motion of a party. See Fed. R.

Civ. P. 4(c)(3) advisory committee notes (1993 amendment) (“The court also retains discretion

to appoint a process server on motion of a party. If a law enforcement presence appears to be

necessary or advisable to keep the peace, the court should appoint a marshal or deputy or other

official person to make the service.”). See also Yelland v. Abington Heights School District, No.

3:16-2080, 2017 WL 4122465, at *4 (M.D. Pa.) (granting party’s request for assistance with

serving subpoenas and directing U.S. Marshals Service to serve subpoenas pursuant to 28 U.S.C.

§ 566(a) and (c)).

       Grande has exhausted all mechanisms available to it for serving a subpoena on IP-

Echelon. IP-Echelon does not have a registered agent to receive service of process. Clifford

Decl. at ¶ 7. Grande engaged a private process server to serve the subpoena at IP-Echelon’s Los

Angeles office, but the process server’s efforts have been rebuffed on multiple occasions.

Clifford Decl. at ¶ 6. Grande’s counsel has also attempted to communicate via telephone and

email with IP-Echelon, but IP-Echelon has not responded to these communications. Clifford




                                                 3
           Case 1:17-cv-00365-LY Document 94 Filed 05/25/18 Page 4 of 5



Decl. at ¶ 8. Grande does not have any other means to complete service of the subpoena on IP-

Echelon.

       In the absence of proper service of the subpoena on IP-Echelon, Grande would be

prejudiced because it would be unable to obtain evidence from IP-Echelon. Accordingly,

Grande requests the assistance of the U.S. Marshal to complete service on IP-Echelon.

                                        CONCLUSION

       For the foregoing reasons, Grande respectfully requests that the Court grant this Motion,

order the U.S. Marshal for the Central District of California to serve Grande’s Subpoena on IP-

Echelon, and grant other relief as the Court deems just and proper.



Dated: May 25, 2018.


                                                    By: /s/ Nicholas B. Clifford_____
                                                        Richard L. Brophy
                                                        Zachary C. Howenstine
                                                        Margaret R. Szewczyk
                                                        Nicholas B. Clifford
                                                        Armstrong Teasdale LLP
                                                        7700 Forsyth Blvd., Suite 1800
                                                        St. Louis, Missouri 63105
                                                        Telephone: 314.621.5070
                                                        Fax: 314.621.5065
                                                        rbrophy@armstrongteasdale.com
                                                        zhowenstine@armstrongteasdale.com
                                                        mszewczyk@armstrongteasdale.com
                                                        nclifford@armstrongteasdale.com

                                                        Attorneys for Defendant GRANDE
                                                        COMMUNICATIONS NETWORKS LLC




                                                4
          Case 1:17-cv-00365-LY Document 94 Filed 05/25/18 Page 5 of 5



                                CERTIFICATE OF SERVICE

       The undersigned certifies that on May 25, 2018, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                           /s/     Nicholas B. Clifford_____
                                                                   Nicholas B. Clifford




                                                5
